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FoR THE WESTERN DisrRiCr oF TENNESSEE 515 _.., §: W 3 f l
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UNITED STATES OF AMERICA

 

 

v.
CHARLES LOVE 05cr20204-2-B
05¢r20205-2-M1 M
()RDER ON ARRAIGNMENT
This cause came to be heard on C§QM g 4 §§ _Zé&€ the United States Attorney
for this district appeared on behalf of the g ernrnent, and the defendant appeared in person and with
counsel:

NAME é/L/£m / \%'\'7%04/ Who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

i/ Thedefendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. M

UNITED srArEs MAGISTRATE JUDGE

CHARGES -18:1951
lNTERFERENCE WITH COMMERCE BY THREAT OR VIOLENCE

Attorney assigned to Case: T. DiSCenZa
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UNITED srArE onlle COURT - WESERNT D'S'TRCT oFrENNESSEE

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This notice confirms a copy of the document docketed as number 13 in
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.lune 16, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

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Bryan H. Hoss

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508 East 5th St
Chattanooga, TN 37403

Honorable .l on McCalla
US DISTRICT COURT

